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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 CBV, INC.,

                 Plaintiff/Counterclaim-
                 Defendant,
                                                     C.A. No. 1:21-cv-01456-MN
         v.

 CHANBOND, LLC,

                 Defendant/Crossclaim-
                 Defendant,

 DIERDRE LEANE, and IPNAV, LLC,

                 Defendants/Counterclaim-
                 Plaintiffs/Crossclaim-
                 Plaintiffs.


                 STIPULATION AND [PROPOSED] ORDER REGARDING
                       PRELIMINARY INJUNCTION BRIEFING

        WHEREAS,            Plaintiff/Counterclaim-Defendant    CBV,         Inc.   (“CBV”),

Defendant/Crossclaim-Defendant ChanBond, LLC (“ChanBond”), and Defendants/Counterclaim-

Plaintiffs/Crossclaim-Plaintiffs Deirdre Leane and IPNAV, LLC (“Leane Defendants”) are parties

to this action (collectively, the “Parties”); and

        WHEREAS, CBV has filed a motion for a preliminary injunction restraining ChanBond

from distributing the proceeds of ChanBond’s patent litigations referenced in CBV’s Amended

Complaint (the “Complaint”) to the Leane Defendants (the “PI Motion”); and

        WHEREAS, the Parties stipulated to an Order Concerning Temporary Restraining Order

and Interest by CBV, Inc., pending hearing and decision on the PI Motion; and

        NOW, THEREFORE, the Parties hereby stipulate and agree as follows:
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       1.      ChanBond and Leane Defendants shall file and serve their Answering Briefs in

opposition to CBV’s PI Motion on or before March 31, 2022;

       2.      CBV shall serve a limited, expedited request for production of documents “relating

to any effort by Defendants to disclose the existence or terms of the ASA to, or conceal the

existence or terms of the ASA from CBV” (the “Expedited Document Requests”) on or before

March 31, 2022;

       3.      CBV shall file and serve its Reply Brief in further support of its PI Motion the

within seven (7) days of Leane Defendants’ completion of its production of documents in

connection with the Expedited Document Requests, and the hearing on the PI Motion shall be

scheduled by the Court without regard to the status of ChanBond’s production of documents in

connection with the Expedited Document Requests.

       4.      Nothing herein shall prevent or waive CBV’s right to move to compel further

production of documents based on any deficiency in ChanBond’s and/or Leane Defendants’

responses to the Expedited Discovery Requests and/or production of documents in connection

therewith, or to request from the Court an extension of time to file and serve its Reply Brief based

upon the time required for Defendants to respond to the Expedited Document Requests and

produce documents in connection therewith, and nothing herein shall prevent or waive Defendants’

right to oppose such motion or request on the basis that the Expedited Discovery Requests are

irrelevant, unnecessary to resolution of the PI Motion, lack sufficient basis to warrant grant of

expedited discovery in connection with a PI Motion, or on any other ground;



       [Remainder of Page Intentionally Left Blank. Signatures Appear on Following Page.]




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  BUCHANAN INGERSOLL                       BAYARD, P.A.
      & ROONEY PC

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  LLC


Dated March 31, 2022.


       IT IS SO ORDERED.



                                                 The Honorable Maryellen Noreika
                                                    United States District Judge




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